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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                     :


               v.                            :      Crim. No. 09-501(SRC)

PETER VENTRICELLI                            :      ORDER



       This matter having come before the Court for an initial appearance on November 19,

2009 in connection with the Indictment, Crim. No. 09-863-02, filed against the defendant;

       and the Court finding that these new charges warrant vacating the order entered in this

case that permitted the defendant to seek and secure employment while on electronic monitoring;

       and for the reasons set forth on the record on November 19, 2009;

       IT IS ON THIS 19th day of November, 2009

       ORDERED that the Order that permitted the defendant to seek and secure employment is

vacated; and

       IT IS FURTHER ORDERED that all other terms of release imposed in this case and in

connection with Crim. No. 09-863 shall remain in full force and effect.

                                             s/Patty Shwartz
                                             UNITED STATES MAGISTRATE JUDGE
